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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 D. EDWARD HAYS, #162507
 ehays@marshackhays.com                                                                                  FILED & ENTERED
 TINHO MANG, #322146
 tmang@marshackhays.com
 MARSHACK HAYS LLP                                                                                               SEP 07 2022
 870 Roosevelt
 Irvine, CA 92620
                                                                                                           CLERK U.S. BANKRUPTCY COURT
 Tel: (949) 333-7777                                                                                       Central District of California
 Fax: (949) 333-7778                                                                                       BY jle        DEPUTY CLERK




      Attorney for: Richard A. Marshack, Chapter 7 Trustee

                                           UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA -SANTA ANA DIVISION

 In re:                                                                       CASE NO.: 8:21-bk-10635-ES
                                                                              CHAPTER: 7

                                                                               ORDER ON APPLICATION
 ALICIA MARIE RICHARDS,                                                        FOR PAYMENT OF:
                                                                                   INTERIM FEES AND/OR EXPENSES
                                                                                   (11 U.S.C. § 331)
                                                                                   FINAL FEES AND/OR EXPENSES
                                                                                   (11 U.S.C. § 330)
                                                                              DATE: August 18, 2022
                                                                              TIME: 10:30 a.m.
                                                                              COURTROOM: 5A – Via ZoomGov
                                                                              PLACE: 411 W. Fourth Street, Santa Ana, CA 92701


                                                              Debtor(s).

1. Name of Applicant (specify): MARSHACK HAYS LLP, general counsel for Estate, HESTON & HESTON, special
counsel for Estate.

2.   This proceeding was heard at the date and place set forth above and was                                Contested              Uncontested

3.   Appearances were made as follows:
     a.        Applicant present in court
     b.        Attorney for Applicant present in court (name):
     c.        Attorney for United States trustee present in court
     d.        Other persons present as reflected in the court record

4.   Applicant gave the required notice of the Application on (specify date): 7/28/2022


          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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5.  The court orders as follows:
    a.      Application for Payment of Interim Fees is approved as follows:
        (1)     Total amount allowed: $ 246,457 for Marshack Hays LLP; $101,870 for Heston & Heston
        (2)     Amount or percentage authorized for payment at this time: 50% immediately, and an additional 20% is
authorized to be paid by Trustee on an interim basis at Trustee’s discretion.

     b.        Application for Reimbursement of Interim Expenses is approved and authorized for payment:
                  Total amount allowed: $ 8,369.47 for Marshack Hays LLP; $615.63 for Heston & Heston

     c.        Application for Payment of Final Fees is approved in the amount of: $

     d.        Application for Reimbursement of Final Expenses is approved and authorized for payment:
                  Total amount allowed: $

     e. (1)          Application is denied
                        in full
                        in part
                        without prejudice
                        with prejudice
          (2) Grounds for denial (specify):



     f.        The court further orders (specify):

               The Court finds that it has jurisdiction over the allowance or disallowance of administrative fees incurred by
               Estate professionals, which is a core bankruptcy proceeding under 28 U.S.C. § 157(b)(2)(A).

               The Court finds that notice of the fee applications was proper. Objections to the propriety of service by Alicia
               Marie Richards and Lawrence Remsen are overruled.

               The allowance of fees and costs is on an interim basis only, and is subject to final review upon the submission
               of a final fee application and any payments are subject to whatever rights Ryal W. Richards has in the
               community property proceeds being held by the Trustee and 11 U.S.C. § 726.

                                                                           ###




                  Date: September 7, 2022




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